Tracy Hope Davis
United States Trustee for Region 2
Office of the United States Trustee
271 Cadman Plaza East, Room 4529
Brooklyn, New York 11201
Telephone: (718) 422-4960
William E. Curtin (WC-1974)

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
--------------------------------------------------------x
In re:

OTR MEDIA GROUP INC.,                                              Chapter 11

                                                                   Case No. 11-47385 (ESS)
                                    Debtor.
-------------------------------------------------------x
                                         CERTIFICATE OF SERVICE

STATE OF NEW YORK                  )
                                    :   ss
COUNTY OF KINGS                    )

        I, William E. Curtin, hereby declare, under penalty of perjury under the laws of the United

States of America, and pursuant to 28 U.S.C. § 1746, that on January 17, 2012, I caused to be served

a copy of the within United States Trustee’s Objection to the First Interim Application for Allowance

of Fees and Expenses (the “Application”) of Goetz Fitzpatrick, LLP, (“Goetz”) as counsel to the

Debtor, by regular mail upon each of the parties listed on the attached service list by depositing a true

copy of same in a sealed envelope, with postage pre-paid thereon, in an official depository of the

United States Postal Service within the City and State of New York. Debtor’s counsel was also

served by e-mail.


Dated: Brooklyn, New York                                   S/ William E. Curtin
       January 17, 2012                                     William E. Curtin
                        SERVICE LIST



OTR Media Group, Inc.
288 Hamilton Avenue
Brooklyn, NY 11231

Gary M. Kushner, Esq.
Goetz Fitzpatrick LLP
One Penn Plaza
44th Floor
New York, NY 10119




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